  Case 2:22-mj-00873-DAO Document 1-1 Filed 12/09/22 PageID.2 Page 1 of 8




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                         IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF UTAH




IN THE MATTER OF THE SEARCH OF: )
                                        )             Misc. No. 2:22mj873-DAO
In Regards to the Target Location 1 and )
Target Vehicle 1                        )             SEALED AFFIDAVIT
Listed in Attachment A and incorporated )             SEARCH WARRANT
herein                                  )



               AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

       I, Brett Taylor (“Your affiant”), a Special Agent (SA) with the Federal Bureau of

Investigation (“FBI”), being duly sworn, depose and state as follows to wit:

       1.      I am an investigative or law enforcement officer of the United States within the

meaning of Section 2510(7) of Title 18, United States Code, and am empowered by law to conduct

investigations of and to make arrests for offenses enumerated in Section 2516 of Title 18, United

States Code. I have been so employed by the FBI since February of 2022. I am currently assigned

to the FBI Wasatch Metro Drug Task Force (WMDTF) and I am tasked with investigating street

gangs and drug trafficking. I have been involved in aspects of this and related investigations since

July 2022, and, as a result of personal participation, including physical surveillance, review of

public records, pen registers and trap and trace information, telephone toll records, interviews with
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     Case 2:22-mj-00873-DAO Document 1-1 Filed 12/09/22 PageID.3 Page 2 of 8




and analyses of reports submitted by other special agents of the FBI and local, state, and federal

law enforcement agencies in Utah, I am familiar with all aspects of this investigation. I am also

familiar with the appearance, packaging, common usage and terminology regarding controlled

substances through my training, experience, and observation.

        2.       The statements in this affidavit are based in part on information provided by law

enforcement officers assigned to other law enforcement agencies, other Special Agents and

employees of the FBI and WMDTF and on my experience and background as a Special Agent of

the FBI, and information received from confidential informants as well as the state of Utah. Since

this affidavit is being submitted for the limited purpose of securing a warrant from the Court, your

Affiant has not included each and every fact known to me concerning this investigation. Your

Affiant has set forth only the facts that I believe are necessary to establish probable cause to believe

that evidence of the proceeds of distribution of narcotics as well as the laundering of those funds

are contained in the location to be searched as described in Attachment A and the list of items to

be seized described in Attachment B.

        3.       Agents wish to search the following locations and vehicles to locate and seize

evidence of the conspiracy to distribute narcotics as well as evidence of the possession and/or

manufacturing of narcotics as further described in Attachment B:

                Target Location 1 = 7159 West Magnum Vista Place, Salt Lake City, UT 84128

                 Target Vehicle 1 = 1997 Green Toyota Camry (UT-T957CA)

        Agents desire to locate and seize evidence of the conspiracy to distribute narcotics as well

as evidence of the possession and/or manufacturing of narcotics as further described in Attachment

B.

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   Case 2:22-mj-00873-DAO Document 1-1 Filed 12/09/22 PageID.4 Page 3 of 8




                                FACTS ESTABLISHING PROBABLE CAUSE

        4.       In or about October 2022, the Wasatch Metro Drug Task Force (“WMDTF”),

consisting of the Federal Bureau of Investigation (“FBI”) and Davis Metro Narcotic Strike Force

(“DMNSF”), initiated a criminal investigation into Male Derrick Izaac Sosa (SOSA) and other co-

conspirators known and unknown that are associated with the Drug Trafficking Organization

(“DTO”), for possible violations of 21 U.S.C. §§ 841 –Distribution of a controlled substance; and

§§ 846 –Conspiracy to distribute controlled substances (collectively the “Target Offenses”).

        5.       In or about October 2022, a confidential source (“CS1”1) advised that SOSA was

distributing large quantities of cocaine in the District of Utah. After receiving this information,

investigators were able to utilize an undercover officer (CS1) to purchase cocaine evidence from

SOSA. Prior to the controlled purchases, SOSA arranged the drug exchange with CS1 through

the use of telephone, and later met with CS1 to provide the drug evidence at an agreed upon meet

location. At the time of this writing, CS1 has been able to conduct 3 controlled purchases of

cocaine from SOSA. The first of those buys was in October 2022, and the most recent was on or

about November 29, 2022. A summary of the most recent controlled purchase is described in more

detail below.

November 29, 2022 – 27.77 grams of cocaine – Target Vehicle 1 and Target Location 1



1 CS1 is cooperating with law enforcement in exchange for monetary compensation. Your affiant considers the
information received from CS1 to be accurate and reliable. CS1 has a criminal history to include drug possession
and driving under the influence. CS1 has never provided information to investigators that has been found to be false
or misleading. WMDTF investigators have also verified information provided by CS1 in this investigation through
independent sources, including surveillance, registered owner checks on vehicles and addresses used by the
suspect(s), criminal history checks on the suspects, and information received from other sources of information.
Based on conversations with CS1, CS1 appears to be knowledgeable in the sale and distribution of controlled
substances.

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  Case 2:22-mj-00873-DAO Document 1-1 Filed 12/09/22 PageID.5 Page 4 of 8




         6.     On or about November 29, 2022, CS1 arranged the purchase of a quantity of

cocaine from SOSA using Target Vehicle 1. During the arrangement of the deal, SOSA agreed

to meet CS1 at a location in Salt Lake County, Utah.

         7.    Prior to the deal CS1 was then provided with evidence purchase money and an

audio/video recording/transmitting device which was monitored throughout the deal by agents.

Thereafter, agents followed CS1 directly to the buy location without making any unscheduled

stops.

         8.    On November 29, 2022 agents observed SOSA leave Target Location 1 and arrive

at the buy location using Target Vehicle 1. Agents observed CS1 get into Target Vehicle 1. SOSA

handed CS1 a quantity of cocaine in exchange for drug purchase money. CS1 exited the vehicle

and SOSA drove away using Target Vehicle 1 returning back to Target Location 1. Based on

training and experience, your affiant believes that SOSA used Target Vehicle 1 to distribute

narcotics. Your affiant believes that the Target Location 1 is used as a place to store narcotics

by SOSA.

         9.    After the deal, agents met CS1 at a predetermined location. CS1 relinquished

possession of the audio/video recording/transmitting device and the cocaine and cocaine evidence.

         10.   The evidence was later transported to the Davis County Crime Lab, where it

was photographed, packaged, and weighed.            The evidence weighed 12.38 grams and

presumptively tested positive for cocaine. The narcotic evidence was then booked into Davis

County Crime Lab for storage.

         11.   Based on this controlled purchase, your affiant believes that SOSA uses the Target

Location 1 to store narcotics. Based upon surveillance SOSA then traveled directly from the

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  Case 2:22-mj-00873-DAO Document 1-1 Filed 12/09/22 PageID.6 Page 5 of 8




Target Location 1 and to the agreed upon meet location and provided the Cocaine evidence to

CS1. Additionally, based on the investigation, probable cause has been established to believe

SOSA is using Target Vehicle 1, as described above to facilitate the distribution as well as the

possession and/or the manufacturing of narcotics, and that evidence of such will be located in those

vehicle. Your affiant knows from training and experience people involved in narcotics trafficking

commonly use storage units and/or “stash houses” to store illegal narcotics and other items of

contraband.

       12.      In addition, your affiant knows that individuals involved in narcotics trafficking

often use multiple locations to store/transport narcotics in attempt to avoid law enforcement

detection. This is done to avoid risking the illegal contraband (narcotics, US currency, firearms

etc.) from being seized by law enforcement officials.

       13.     Based on the investigation, probable cause has been established to believe SOSA

is using the Target Location 1, as described above, to store narcotics and distribute narcotics, and

that the evidence of narcotics distribution as well as the possession and/or the manufacturing of

narcotics will be found in those locations. Your Affiant requests a search warrant for the Target

Location 1 and Target Vehicle 1 as described above and in Attachment A, for the purpose of

locating evidence related to the possession, distribution and/or the manufacturing of narcotics.

       14.     The WMDTF wishes to execute a search at the location described in Attachment A

in an effort to prevent any further narcotics from being distributed and collect any other evidence

of a conspiracy to distribute narcotics. Your Affiant seeks a warrant to seize items related to the

distribution, possession and manufacturing of narcotics, further described in Attachment B. There

is reasonable necessity for this seizure in that the items listed in Attachment B are evidence of the

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  Case 2:22-mj-00873-DAO Document 1-1 Filed 12/09/22 PageID.7 Page 6 of 8




conspiracy to distribute narcotics as well as possess and/or manufacture. This warrant also seeks

the authority to seize other cell phones and electronic devices but not to search them. All other

seized cell phones and electronic devices will be documented and secured as evidence and

subsequent federal search warrants will be sought to search the additional cell phones and

electronic devices for evidence of the Target Offenses.

       WHEREFORE, I request that the court issue a search warrant for the property in paragraph

3 to search for the evidence in attachment B.



                                                Brett Taylor
                                                Special Agent, Federal Bureau of Investigation



       SUBSCRIBED and SWORN to before me on December 9th, 2022.



                                                THE HONORABLE Daphne A. Oberg
                                                UNITED STATES MAGISTRATE JUDGE




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  Case 2:22-mj-00873-DAO Document 1-1 Filed 12/09/22 PageID.8 Page 7 of 8




                                ATTACHMENT A

Agents wish to search the following locations and vehicles:

        ꞏ Target Location 1 = 7159 W Magnum Vista Place. Salt Lake City, UT
84128

        ꞏ Target Vehicle 1 = 1997 Toyota Camry (UT-T957CA)




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Case 2:22-mj-00873-DAO Document 1-1 Filed 12/09/22 PageID.9 Page 8 of 8




                            ATTACHMENT B
           LIST OF ITEMS TO BE SEARCHED FOR AND SEIZED

      1. Controlled substances including but not limited to cocaine e as further described
      as a white rock like substance; materials related to the possession or distribution of
      cocaine including plastic bags, scales, measuring devices, and materials used to cut or
      dilute cocaine; and drug paraphernalia to include but not limited to pipes and other
      items used to ingest cocaine, or other illegal narcotics.

      2. Books, records, receipts, notes, ledgers, and other papers relating to the possession,
      sale, and transfer of controlled substances or which reflect code names or identities of
      co-conspirators.

      3. Proceeds of narcotics distribution in the form of United States currency, negotiable
      instruments, or financial instruments.

      4. Paraphernalia for packaging, manufacturing, using, weighing, or distributing illegal
      drugs, including but not limited to: weigh scales, baggies, grinders, cutting material
      (diluents), wrapping materials (new and used), tape, razor blades, cutting boards, glass
      pipes, cigarette papers, cooking devices, butane torches, and shipping materials such
      as boxes, deodorants, plastic wrapping, mail labels, and any other items used by persons
      to manipulate drugs in any way.

      5. Communication equipment such as: cellular telephones, two-way radios, electronic
      radio scanning devices, answering machines, caller identification boxes, and any
      electronic equipment used to reprogram cellular telephones. However, the search of
      the electronic content of these devices will not be conducted unless authorized
      pursuant to an additional search warrant.

      6. Any photographs of illegal drugs, persons using illegal drugs or assets derived from
      the sale of illegal drugs.

      7. Electronic equipment, such as electronic address notebooks or other electronic
      storage devices that can be used for storing drug ledgers or contact information of co-
      conspirators.

      8. Electronic equipment used for counting currency.

      9. Any lock boxes or safes.




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